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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-353 MCE
12                                Plaintiff,               REQUEST TO SET MATTER ON
                                                           CALENDAR FOR CHANGE OF
13          v.                                             PLEA BY DEFENDANT SEAN
                                                           MCCLENDON
14   SEAN MCCLENDON,
15                                Defendant.
16

17          Plaintiff United States of America and defendant SEAN MCCLENDON have reached terms

18 of a plea agreement under which MCCLENDON intends to change his plea in this matter. The

19 parties jointly request the matter be set on October 18, 2012, at 9:00 a.m. for a change of plea.

20 Dated: October 12, 2012                           BENJAMIN B. WAGNER
                                                     United States Attorney
21
                                                     /s/ Jean M. Hobler
22                                                   JEAN M. HOBLER
                                                     Assistant U.S. Attorney
23

24 Dated: October 12, 2012
                                                     /s/ Donald H. Heller
25                                                   DONALD H. HELLER
                                                     Counsel for Defendant SEAN MCCLENDON
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                             Case 2:11-cr-00353-MCE Document 68 Filed 10/17/12 Page 2 of 2


                                                              ORDER
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 2                          IT IS SO ORDERED. This matter is hereby scheduled for a hearing on Defendant’s change
 3 of plea on October 18, 2012 at 9:00 a.m.

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 5
     Dated: October 17, 2012
 6
                                                           __________________________________
 7
                                                           MORRISON C. ENGLAND, JR
 8                                                         UNITED STATES DISTRICT JUDGE

 9   DEAC_Signatu re-END:




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